aT ° ’ nt
JS 44 (Rev. 06/17)

Case 5:19-cv-0195€H VEL DHOWMERt SHEER 05/02/19 Page 1 of 26

The J8 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

provided by focal rules of court, This form, approved by the Judicial Conference of th
purpose of initiating the civil docket sheet.

nited States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF TIS FORM)

 

E. (a) PLAINTIFFS
Darlene Robbins

(b) County of Residence of First Listed Plfintiff
(EXCEPT IN U.S. PLUINTIFF CASES)

JaSSh Alp. FE feat ae, e. fg
1628 JFK Boulevard, Cul 2120, Philadelphia, PA 19111 (267) 888-2960

  
     
  
 

Bel Air, MD

SS,

ie Paw lst hw Eight Penn Center,

DEFENDANTS

Jeremy R. Barlow
Progressive Pipeline Management, LLC

County of Residence of First Listed Defendant Camden, NJ _
GIN OLS, PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LQCATION OF
THE TRACT OF LAND INVOLVED.

 

NOTE:

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water Bada yee, Ut, Esquire/David ayVavil, Bsauire, Lewis Brisbois
Bisgaard & Srmith, LLP, 650 €. Swedegiord Road, Suite 270, Wayne,
PA 19087 (215) 977-4100 §>

 

 

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H. BASIS OF JURISDICTION {Place an “X" in One Box Only)

Oot U.S. Government

Plaintiff

GO 2 US. Government

Defendant

3. Federat Question

(U.S. Government Nata Party) KK

Diversity
(ndicate Citizenship of Parties in fen HH)

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II. CITIZENSHIP OF PRINCIPAL PARTI@S (laden “X" in Qne Box for Plaintiff

(For Diversity Cases Only) may One Box for Defendant)

 

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Confinement

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Other
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(7 625 Drug Related Seizure

Click here for: Nature of Suit Code Deseri tions.
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O 375 False Claims Act
0 376 Qui Tam (35 USC

( 422 Appeal 28 USC 158

of Praperty 21 USC 881) | O 423 Withdrawal

 

      

 

O 690 Other 28 USC 157 3729(a))
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C) 720 Labor/Management G 863 DIWCIDEWW (405(2) Exchange
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O 740 Railway Labor Act

0 751 Family and Medical
Leave Act

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Income Security Act

(1 865 RSI (405(g)} O 891 Agricultural Acts

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O 895 Freedom of Information
Act

0 396 Arbitration

O 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

O 950 Constitutionality of

 

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0 870 Taxes (U.S, Plaintiff
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IMMIGRATION State Statutes

    

 

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V. ORIGIN (Pigg ai

 
  

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VI. CAUSE OF ACTION

28 USC 1446 and 1441(a) and 1332

Brief description of cause:

 

Cite the U.S, Civil Statute under which you are filing (De nat cite jurisdictional statutes untess diversity):

This action involves a MVA involving two vechicles. Plaintiff resides in MD. Defendants reside in nb.

 

 

 

Vl. REQUESTED IN = () CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if ed n complaint:
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FOR OFFICE USE ONLY

RECEIPT #

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APPLYING IFP

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MAG. JUDGE

 
UNITED STATES DISTRICT’ COURT

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MoS 5:19-cFORSRE ESR Te eee [Greet PSS le

(ta be nse by counsel arpre se platnilff ie indicate the catepory.df the case Jor ihe purpose of assignment to the. appropriate catendar }.

Address of Plaintiff: 433 Amelanchier Court, Bel Air, MD 21015

 

Address of Defendant: Barlow --360 Husted:Statian Road; Progressive - 101: Linden Street, Wenchah, NJ 08090

 

200 Franklin Street, Strasburg, PA

Place of Acciderit, Incident or Transaction:

 

 

‘RELATED-CASE, IF ANY:
Casé Number Judge: Date-Terminated:

‘Civil cases ave deci related when’ Pey is anawered to any af the following questions:

 

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Labor-Management Relations
Products Liability

Civil Rights

 

 

 

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$ Habeas Corpus Products Liability ~ Asbestos
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1, Adl other Pedéral Question Cases

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ARBITRATION CERTIFICATION
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1, », counsel of record on qito se’plaindff, da ‘hereby certify:

 

"Pursuant (0. Local. Civil Rule $3.2, §-3(c) (2), that to the. best of my knowledge and belief, thé damages recoverable in this. civil action case
[_} exceed che sum of $150,000.00 exelusive.of interest and-costs:

 

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DATE:

 

Allorriey-ai-Lavit / Peo Se Plaintiff , Attorney LD, #-(f applicable)

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a UNTFED STATES. DISTRICT COURT
Case 5:19-cVh BE SSE BASEER A BE oMOr PENROSE Page 3 of 26
DESIGNATION FORM
flo. be ased by counsel or-pro se plaintiff im ihedicate the categary-df the case for the’ ‘purpose of assignment (a the appropriate edendar).

Address of Plaintiff: 433 Amelanchier Court, Bel Air, MD 21015

‘Address of Defendant: Batiow --360 Husted:Station Road; Progressive - 101. Linden Street, Wenchah, NJ 08090

 

200 Franklin Street, Strasburg, PA

Place of Acciderit, Incident or Transaction:

 

‘RELATED. CASE, IF ANY:
Casé Nunbert Judge: ‘Date. Terminated:

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ARBITRATION CERTIFICATION
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"Pursuant to, Local. Civ Rule $3.2, $3(c} (2), thatio the.best of my knowledge and belief, the damages recoverable in this.civil action case
éxceed the sum of $150,000,00 exclusive-of interest and costs:

 

 

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Attornigy-al-Lase / Peo Se-Plaintt . Altorney LD, #-(if applicable)

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Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 4 of 26
IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

DARLENE ROBBINS CIVIL ACTION
¥,

JEREMY R. BARLOW and PROGRESSIVE

PIPELINE MANAGEMENT NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shali complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ()

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. (X)

(d) Asbestos — Cases involving claims for personal injury or property damage from

 

(f) Standard Management — Cases that do not fall into any one of the other tracks.

exposure to asbestos. “ = {)

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(e) Special Management — Cases that do not fall into tracks (a) through (d) that are 2 A =

commonly referred to as complex and that need special or intense managemesit’6p Re
the court. (See reverse side of this form for a detailed explanation of special ;- pee
management cases.) Oe Uf

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on

4

Jeremy R. Barlow and Progressive

 

 

 

5/2/19 David A. Yavil Pipeline Management

Date Attorney-at-law Attorney for Defendants
(215) 977-4100 (215) 977-4101 david. yavil@lewisbrisbois.com
Telephone FAX Number E-Mail Address

481 £-2368-0773.1 (Civ. 660} 10/02

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American LegalNet, Inc. 73%

 

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Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 5 of 26

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVNIA

 

 

DARLENE ROBBINS
Plaintiff, :
CIVIL ACTION NO.
Vv,
: a
JEREMY R. BARLOW and : JURY TRIAL DEMANDED: ; = =
PROGRESSIVE PIPELINE og
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Defendants. : 2 vr Uv
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DEFENDANTS, JEREMY R. BARLOW AND PROGRESSIVE PIPELINE?

 

MANAGEMENT, LLC’S NOTICE OF REMOVAL

 

TO: THE HONORABLE JUDGES OF THE UNITED STATES DISTRICY COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
Pursuant to 28 U.S.C. §1446, §1441(a), and §1332, Defendants, Jeremy R. Barlow and

Progressive Pipeline Management, LLC, remove to this Court the above action, pending as a Civil

Action No. 181203319 in the Pennsylvania Court of Common Pleas of Philadelphia County. As

grounds for removal, Defendants state:
BACKGROUND

1, This Civil Action, arises out of a motor vehicle accident involving two (2) vehicles
and commenced on December 31, 2018, and is pending in the Pennsylvania Court of Common Pleas,

Philadelphia County, a Court located within this District, under Docket No. 181203319,
Defendant, Progressive Pipeline Management, LLC (hereinafter “Progressive”’), was

2,
served with the Complaint on February 25, 2019 at its principal place of business 101 Linden Street,

Wenohah, New Jersey.

4850-4567-746].1
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 6 of 26

3, The undersigned counsel for Defendant, Jeremy R. Barlow, accepted service of
Plaintiff's Complaint on his behalf on April 30, 2019.

4, This Court has jurisdiction of this action under 28 U.S.C. §1332, ef seq.

5. Initially, Plaintiff provided a pre-suit settlement demand of $60,000.00.

6. Subsequently, on or about April 2, 2018, upon filing her Case Management
Conference Memorandum with the Court of Common Pleas, Philadelphia County, Pennsylvania,
Plaintiff increased her settlement demand to $110,000.00, clearly in excess of the jurisdictional
minimum.

7. As such, Defendants are filing this Notice of Removal within thirty (30) days of first
ascertaining that the matter is one which is removable and within thirty (30) days of service of the
Complaint upon Defendant, Jeremy Barlow. See 20 U.S.C. §1446(b)(1) and (3).

8. Moreover, one year has not expired since the commencement of this action.

9. Venue is proper in this Court because the Pennsylvania Court of Common Pleas of
Philadelphia County, where this case was originally filed, is in the District. See 28 U.S.C. §1446(a).

10. Pursuant to 28 U.S.C. §1446(a), “a copy ofall process, pleadings, and Orders served
upon” Defendants prior to filing of this Notice of Removal is attached hereto as Exhibit “A.”

11. Pursuant to 28 U.S.C. §1446(d), Defendants, Jeremey R. Barlow and Progressive, are
serving a copy of this Notice of Removal on all counsel of record. Notice of the filing of this Notice
of Removal will be filed with the Clerk of the Pennsylvania Court of Common Pleas of Philadelphia
County and a copy is attached hereto as Exhibit “B.”

DIVERSITY OF CITIZENSHIP

12. The Diversity of Citizenship requirement under 28 U.S.C. §1332(a) is met.

 

' Plaintiffs Complaint

4850-4567-7461.1
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 7 of 26

13. Both Defendants are citizens of the State of New Jersey. Defendant, Jeremy R.
Barlow’s residence is 360 Husted Station Road, Pittsgrove, New Jersey 08318; and Defendant,
Progressive Pipeline Management, LLC, is located at 101 Linden Street, Wenohah, New Jersey
08090. Defendants are citizens of New Jersey or citizens of another State other than the
Commonwealth of Pennsylvania within the meaning of 28 U.S.C. §1332.

14, Plaintiff, Darlene Robbins, is a citizen of the State of Maryland, residing at 433
Amelanchier Court, Bel Air, Maryland, 21015. See Exhibit “A” 41.

15. Diversity exists under 28 U.S.C. §1332 because the parties are citizens of different
States.

16. Removal is proper under 28 U.S.C. §1332(a) as the amount in controversy exceeds
$75,000.00. See U.S.C. §1332.

17. Plaintiff seeks a variety of damages and has set forth a settlement demand of
$110,000.00. See Plaintiff's Case Management Conference Memorandum, attached hereto as
Exhibit “C.”

18. More specifically, Plaintiff alleges her damages are as follows:

“As a direct and consequential result of the negligent and/or
careless conduct of the Defendant Operator, described above, the
Plaintiff suffered various serious and permanent personal injuries,
serious impairment of bodily function and/or permanent serious
disfigurement, all to Plaintiff's great loss and detriment.

16. Asa result of these injuries, all of which are permanent in
nature and all of which are to Plaintiff's great financial detriment
loss, Plaintiff has in the past, is presently and may in the future
suffer great anguish, sickness and agony and injuries including but
not limited to lumbar, cervical and/or thoracic sprain/strain, other

injuries and ills, and will continue to suffer for indefinite time into
the future.

4850-4567-746 1.1
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 8 of 26

17. As an additional result of the carelessness and negligence of
Defendant Operator, Plaintiff has suffered emotional injuries,
along with the physical injuries suffered.

18. Asa further result of Plaintiff's injuries, he/she has in the past,
is presently and may in the future undergo a great loss of earnings
and/or earning capacity, all to Plaintiffs further loss and
detriment.”

 

See Exhibit “A” 4] 15-18.

19. Therefore, the matter is removable pursuant to 28 U.S.C, §1332.

WHEREFORE, Defendants, Jeremy R. Barlow and Progressive Pipeline Management,
LLC, effect the removal of this action from the Pennsylvania Court of Common Pleas of

Philadelphia County to the United States District Court for the Eastern District of Pennsy!vania.

Respectfully submitted,

Lewis Brisbois Bisgaard & Smith, LLP

'
By: YALA £ AL ly bl’
Walter H. Swayze, Il, Esquire
David A. Yavil, Esquire
Counsel for Defendants,
Jeremey R. Barlow and
Progressive Pipeline Management, LLC

Date: May 2, 2019

4850-4567-746 11
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 9 of 26

EXHIBIT A
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 10 of 26

Court of Common Pleas of Philadelphia County
Trial Division

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Civil Cover Sheet : pe Hes oe
PLAINTIFFS NAME DEFENDANTS NAME
DARLENE ROBBINS JEREMY R.. BARLOW
£3) RBDANCHIER cT pep eo NUE NUSSED 5 STATION ROAD
BEL AIR MD 21015 PITISGROVE NS 08318
PLAINTIFF'S NAME DEFENDANTS NAME
PROGRESSIVE PIPELINE MANAGEMENT
PLAINT DEFENDANTS ADORESS
WFP ADDRESS TOL LINDEN STREET
WENONAH Nu 06690
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FR OTHY COORDINATION ORDER?
yes NO
DEC 31 2018
M. BRYANT
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of PlaintiffPetitioner/Appellant DARLENE, ROBBINS
Papers may be served at the address set forth below.
NAME OF PLAINTIFFS/PETIFIIONER'S/APPELLANT'S ATTORNEY ADDRESS
JASON &. FINE J FINE LAW GROUP, LLC
1628 JEK BOULEVARD
PHONE NUMBER PAX NUMBER SUITE 2120
(267) 888-2960 (267) 687-7018 PHILADELPHIA PA 19103
SUPREME COURT IDENTIFICATION NO, EMAL, ADDRESS
82452 filingsatjfinelaw.com
SIGNATURE OF FLING ATTORNEY OR PARTY DATE SUBMITTED
JASON FINE Monday, December 31, 2018, 01:15 pm

 

 

 

FINAL COPY {Approved by the Prothonotary Clerk) Case [D7 181203319
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 11 of 26

J, FINE LAW GROUP, P.C,

BY: Jason E, Fine, Esquire; Attorney ID #: 82452
David M. Bercoviteh, Esq.; Attorney ID#:3 15026
Eight Penn Center, 1628 John F. Kennedy Bivd., Suite 2120

Philadelphia, PA 19103
Phone: (267) 888-2960; Fax: (267) 687-7018

Email: Jason@jfinelaw.com, David@jfinelaw.com

 

 

DARLENE ROBBINS 3 COURT OF COMMON PLEAS
433 Amelanchier Ct, $ PHILADELPHIA COUNTY
Bel Air, MD 21015 :
Plaintiff, $ DECEMBER TERM, 2018
¥. : NO.
: MAJOR NON-JURY
JEREMY R, BARLOW 3 ASSESSMENT OF DAMAGES
360 Hussed Station Rd., : HEARING REQUESTED
Pitisgrove, NJ 08318 :
and :
PROGRESSIVE PIPELINE :
MANAGEMENT :
101 Linden St, :
Wenonah, NJ 08690 :
Defendants. :
NOTICE TO DEFEND
NGSTICE AVISO

You have baen sued in court. If you wish to defend
against the claims set forth in tha following pagas,
you must taka action within twenty {20) days after
this complaint and notice are served, by antering a
written appearance personally or by attorney and
filing dn writing with the court your defenses or
objections to tha claims set forth agalnat you. You
are warned that ££ you Eeil to do so the case may
proceed without you and a judgment may be entered
against you by the court without further notice for
any money claimad in the complaint or for any other
elaim ox relief requested by the plaintiff. You may
loge money or property or other cights important to
yOu,

YOU SHOULD TAKR THIS PAPER TO YOUR LAWYEA AT ONCE.
TF YOU DO NOT HAVE A LAWYER OR CANNOT AFFORD ONE, GO
TO OR TELEPHONE THE OFFECE SET FORTH BELOW TO FIND
OUT WHERE YOU CAN GET LSGAL HELP.

BALLADELPETA BAR ASBOCTATION
LAWYER REFERRAL AND INZORMATION GERVICE
One Reading Centar
Philadelphia Pennsylvania 19107
Telephone: (215) 238-1761

Le han demandado a usted en La corte, Si usted
quiere defenderse da estas demandas expuestaa en
las paginas siguientes, uated tiene viente (20)
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aus defangas 9 sua objeciones a Lag demandas en
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aviso o notificacién. <Ademés, Ja corte pueda
decidiz a favor del demandanta y requiere que
usted cumpla con todas Lag provisionea da asta
domanda . Usted puede perder dinero ao sus
propiedades uo otres derechos importantes para
usted,

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SE ENCUENTRA BSCHITA ABAJO PARA AVERIGUAR DONDE
83 PUEDE CONSEGUIR ASISTENCIA LEGAL.

ASOCIACION DE LICERCIADOS DE FILADELFIA
SERVICKO DE REFERENGFA B INRORMACTOR LEGAL
Ono Reading Contez
Filadalfia, Permeylvania 19167
Walegone: [215) 238-1701

Case ID: 1812033
Case ID: 181208319

 

19

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 12 of 26

J, FINE LAW GROUP, P.C. Attomeys for Plaintiff
BY: Jason E. Fine, Esquire; Attorney ID #: 82452

David M. Bercovitch, Esq.; Attorney ID#:315026

Eight Penn Center, 1628 Joim F. Kennedy Blvd., Suite 2120

Philadelphia, PA 19103

Phone: (267) 888-2960; Fax: (267) 687-7018

Email: Jason@jfinelaw.com; David@jfinelaw.com

 

DARLENE ROBBINS : COURT OF COMMON PLEAS
433 Amelanchier Ct, : PHILADELPHIA COUNTY
Bel Air, MD 21015 :
Plaintiff, : DECEMBER TERM, 2018
Vv: : NO.
: MAJOR NON-JURY
JEREMY R. BARLOW : ASSESSMENT OF DAMAGES
360 Hussed Station Rd., : HEARING REQUESTED
Pitisgrove, NJ 08318 :
and 3
PROGRESSIVE PIPELINE :
MANAGEMENT 3
101 Linden St, z
Wenonah, NJ 08690 t
Defendants. :
CIVIL ACTION COMPLAINT

2V —-MOTOR VEBICLE ACCIDENT.
Plaintiff, DARLINE ROBBINS, by and through his counsel, J. Fine Law Group,
P.C., hereby file this complaint against Defendants and in support thereof avers as
follows:

1 DARLENE ROBBINS, (hereinafter referred to as “Plaintiff”) is a
resident of the Commonwealth of Pennsylvania, residing at the above captioned address.
2, Upon information and belief, Defendant vebicle operator, Jeremy
Barlow, (hereinafter referred to as “Defendant Operator”), is an adult individual

residing at the above captioned address,

3. Upon information and belief, defendant, Progressive Pipeline

Case ID: 181203419
Case ID: 181203319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 13 of 26

Management, LLC. (hereinafter referred to as “Defendant Owner”) is a business,
company, entity, partnership, franchise, fictitious name, proprietorship or corporation
existing and/or qualifying under the laws of the Commonwealth of Pennsylvania, with a
registered office for the acceptance of service or a principal place of business at the above
captioned address.

Jurisdiction a Th

4, Venue is appropriate in Philadelphia County, as Defendant Owner,
regularly conducts business in Philadelphia County.

5, Venue is appropriate in Philadelphia County pursuant to Pennsylvania
Rule of Civil Procedure 2179 and/or Pennsylvania Rule of Civil Procedure 1006(4)(1).

6, Defendant Owner, is subject to the general personal jurisdiction of
Philadelphia County, as its activities in said county are continuous and substantial
pursuant to 42 Pa.C.S.A. 5301, as they actively and regularly conducts business in
Philadelphia County, Pennsylvania.

7. At all times relevant and material to this complaint, Defendant Owner
and/or its agencies, and the employees, agents, servants, managers and/or representatives
of said defendant and/or its agencies, were the agents, servants, workmen, employees
and/or representatives of each other and were acting within the course and scope of said
employment and/or agency, and/or were acting for a common purpose or a joint venture.

Common Ayerments

8. On or about August 21, 2017 Plaintiff, was operating her motor vehicle at
or near the 200 block of Franklin Street, Strasburg PA., when Defendant Driver driving a
yehicle owned by Defendant Owner, struck plaintiff's vehicle causing plaintiff to suffer

permanent and severe injuries.

Case ID: 181203419
Case ID: 181208319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 14 of 26

9,

owned, leased, controlled and/or had dominion over the vehicle driven by Defendant

Operator.

10.
owner by and as a result of its conduct, acts or omissions of its agents, employees,

servants, workmen and Defendant Operator.

11,
paragraphs one through ten (1-10) as if fully set forth herein at length.

12.
Operator, negligently and/or carelessly, operating the vehicle in such a manner as to
strike Plaintiff.

13.
and/or carelessness of the Defendant Operator and not the result of any action or failure
to act by the Plaintiff.

14.
Operator, which was the direct cause of the aforesaid motor vehicle collision and the

resultant injuries sustained by the Plaintiff, consisted of but is not limited to the

following:

At all times relevant hereto, Defendant Operator and Defendant Owner,

Plaintiff brings this action against Defendant operator and Defendant

DARLENE ROBBINS vy, JEREMY R. BARLOW
Plaintiff, DARLENE ROBBINS, hereby incorporates by reference

The aforesaid motor vehicle collision was the result of Defendant

The aforesaid motor vehicle collision was a direct result of the negligence

The negligence, recklessness and/or carelessness of the Defendant

. failing to properly operate vehicle involved in this accident;
. failing to maintain a proper and adequate lookout,

. driving at an excessive and unsafe rate of speed under the

. operating the motor vehicle in a careless, reckless and negligent

COUNT ONE — NEGLIGENCE

circumstances;

manner;

Case ID: 181203919
Case ID: 181203319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 15 of 26

e, failing to have the motor vehicle under the proper control so as to
prevent the vehicle from striking the vehicle plaintiff was trying to
enter;

f failing to keep an adequate and proper lookout;

g. failing to use due care under the circumstances;

h. failing to take evasive action in order to avoid impacting with
Plaintiff, DARLENE ROBBINS;

i. violations of the Ordinances of the Municipality of Philadelphia
and the Statutes of the Commonwealth of Pennsylvania governing the
operation of motor vehicles on the streets and highways; and

j. failing to maintain an assured clear distance,

15, Asa direct and consequential result of the negligent and/or carelessness
conduct of the Defendant Operator, described above, the Plaintiff suffered various serious
and permanent personal injuries, serious impairment of bodily function and/or permanent
serious disfigurement, all to Plaintiffs great loss and detriment.

16,  Asaresult of these injuries, all of which are permanent in nature and all
of which are to Plaintiff's great financial detriment and loss, Plaintiff bas in the past, is
presently and may in the future suffer great anguish, sickness and agony and injuries
including but not limited to lumbar, cervical and/or thoracic sprain/strain, other injurers
and ills, and will continue to suffer for an indefinite time into the future.

17. As an additional result of the carelessness and negligence of Defendant
Operator, Plaintiff has suffered emotional injuries, along with the physical injuries
suffered.

18. Asa further result of Plaintiff's injuries, he/she has in the past, is presently
and may in the future undergo a great loss of earnings and/or earning capacity, all to

Plaintiff's further loss and detriment,

Case ID; 191203919
Case ID: 181208319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 16 of 26

19. Furthermore, in addition to atl the injuries and losses suffered by Plaintiff,

Plaintiff has also incurred or will incur medical, rehabilitative and other related expenses

 

in an amount equal to and/or in excess of the basic personal injury protection benefits for
which he/she makes a claim for payment in the present action.

WHEREFORE, Plaintiff, DARLENE ROBBINS, prays for judgment in his favor
and against Defendant Operator, RIJAN JACOBS, in an amount in excess of Fifty
Thousand ($50,000.00) Dollars, plus all costs and other relief this court deems necessary.
this Court may deem appropriate.

Oo o- ENT SUPERIO
DARLE OBBINS v. PROGRESSIVE PIPELINE MANAGEMENT, LLC.

20. Plaintiff, DARLENE ROBBINS, hereby incorporates by reference
paragraphs one through nineteen (1-19) as if fully set forth herein at length.

21. At all times relevant hereto, Defendant Operator was the employee,
servant, or otherwise an agent of Defendant Owner; and moreover, at all times relevant
hereto, Defendant Operator was acting within the scope of said employment or agency.

WHEREFORE, Plaintiff, DARLENE ROBBINS, demands damages of the
Defendants, individually, jointly and/or severally, in a sum in excess of $50,000.00 plus

interest, costs and any other relief which this Court may deem appropriate.

COUNT THREE— NEGLIGENT ENTRUSTMENT
DARLENE ROBBINS v. PROGRESSIVE PIPEL, GE

LLC.

22, Plaintiff, DARLENE ROBBINS, hereby incorporates by reference
paragraphs one through twenty-one (1-21) as if fully set forth herein at fength.

23, The negligence and carelessness of Defendant Owner consisted of, inter
alia, the following:

(a) negligently entrusting their vehicle to an individual who was not equipped

Case ID: 181203419
Case [D; 181208319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 17 of 26

to operate their vehicle safely and/or with due care for others;

(>) _ negligently entrusting their vehicle to an individual who exhibited a
disregard for the safety and well-being of others; and

(c) __ failing to properly train and/or instruct Defendant Operator in the safe
operation and usage of his motor vehicle.

26, Asa direct and proximate cause of the aforesaid negligence of Defendant,
Progressive Pipeline Management, LLC, Plaintiff, DARLENE ROBBINS, suffered
damages as more fully described infra.

WHEREFORE, Plaintiff, DARLENE ROBBINS, detaands damages of the
Defendants, individually, jointly and/or severally, in 4 sum in excess of $50,000.00 plus

interest, costs and any other relief which this Court may deem appropriate.

 

J FINE LAW GROUP, P.C.
dsf
Date: December 24, 2018 JASON E. FINE, ESQUIRE
DAVID M. BERCOVITCH, ESQUIRE
Attorneys for Plaintiff

Case ID: 181203419
Case ID: 181206319

 
 

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 18 of 26

VERIFICATION PURSUANT TO PA. RCP. 1024(c)
L, David M. Bercovitch, Esq., VERIFY that the averments of fact contained in the

foregoing Complaint are true and correct to the best of my knowledge, information, and
belief, based upon information provided to me by DARLENE ROBBINS, who is outside
the jurisdiction and whose verification cannot be obtained within the time allowed for
filing. I understand that false statements herein are made subject to the penalties of 18 Pa.

C.S. § 4904 relating to unsworn falsification to authorities.

J FINE LAW GROUP, P.C.

fst
Date: December 24, 2018 JASON E. FINE, ESQUIRE
DAVID M. BERCOVITCH, ESQUIRE
Attorneys for Plaintiff

Case [D: 181203419
Case ID: 181203319

 
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 19 of 26

EXHIBIT B
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 20 of 26

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Attorney Identification No. 59101
David A. Yavil, Esquire

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Attorney Identification No. 88384
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Wayne, PA 19087

(215) 977-4100

Fax: (215) 977-4101

Counsel for Defendants,
Jeremy R. Barlow and
Progressive Pipeline Management, LLC

 

DARLENE ROBBINS
Plaintiff,
Vv,
JEREMY R. BARLOW and
PROGRESSIVE PIPELINE
MANAGEMENT

Defendants.

COURT OF COMMON PLEAS
PHILADELPHIA COUNTY (PA)

DECEMBER TERM, 2018

NO. 03319

 

NOTICE OF FILING OF REMOVAL

TO: OFFICE OF THE PROTHONORAY

COURT OF COMMON PLEAS, PHILADELPHIA COUNTY

Pursuant to 28 U.S.C. §1446, Defendants, Jeremy R. Barlow and Progressive Pipeline

Management, LLC, filed a Notice of Removal in the United States District Court for the Eastern

District of Pennsylvania on May 2, 2019. A certified copy of the Notice of Removal is attached

hereto as Exhibit “A.”

48 14-0528-3989, |
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 21 of 26

Date: May 2, 2019

4814-0328-3989.1

Lewis, Brisbois, Bisgaard, & Smith, LLP

By:

David A. Yavit
Walter H. Swayze, III, Esquire
David A. Yavil, Esquire

Counsel for Defendants,
Jeremy R. Barlow and
Progressive Pipeline Management, LLC
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 22 of 26

CERTIFICATION OF SERVICE
[hereby certify that on this 2" day of May, 2019, I electronically filed Defendants’ Notice of
Filing of Notice of Removal with the Prothonotary using the Philadelphia Courts Electronic Filing
System, which will automatically send notification of such filing to all counsel of record registered
with the Philadelphia Courts Electronic Filing System, as noted below. Any counsel of record listed

below that is not registered with the Philadelphia Courts Electronic Filing System has been served by

via first class mail, postage pre-paid.

Jason E. Fine, Esquire
David M. Bercovitch, Esquire
J. Fine Law Group, P.C.
Eight Penn Center
1628 John F. Kennedy Boulevard, Suit 2120
Philadelphia, PA 19111
Counsel for Plaintiff

Lewis, Brisbois, Bisgaard, & Smith, LLP

By: David A. Yavil
David A. Yavil, Esquire

AS F4-0528-3989. f
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 23 of 26

EXHIBIT C
Case 5:19-cv-01956-RRyRE—pocument 1 Filed 05/02/19 Page 24 of 26
02 APR 2019 06:18 pm

Civil Administration
M. GRAHAM
J. FINE LAW GROUP, P.C.
By: Jason E. Fine, Esquire Attorneys for Plaintiff

 

Attorney ID No. 82452
jason@)finelaw.com
David M. Bercovitch, Esquire
Attorney Id No. 315026
david@jfinelaw.com

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1628 John F, Kennedy Blvd., Suite 2120

Philadelphia, PA 19111

Phone: 267-888-2960

Fax: 267-687-7018

 

DARLENE ROBBINS : COURT OF COMMON PLEAS

PHILADELPHIA COUNTY
Plaintiff
v. : NO, 181203319
JEREMY R, BARLOW and
PROGRESSIVE PIPELINE
MANAGEMENT
Defendants.

 

CASE MANAGEMENT CONFERENCE

MEMORANDUM
PART A
(To be completed in Personal Injury Cases)
Filing party: Plaintiff, Darlene Robbins By: David M. Bercovitch, Esquire
Counsel’s Address: 1628 JFK Blvd
Suite 2120

Phila, PA 19103
267-888-2960

l. Date of accident or occurrence: 8/21/17

(a). Age of Plaintiff (s): DOB; 12/10/57
2, Most serious injuries sustained: Occult scaphoid fracture
3, Is there any permanent injury claimed; x Yes No

 

If yes, indicate the type of permanent injury: Please see above.
10,

I.

12.

13,

14,

15.

16.

17,

Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 25 of 26

 

Dates of medical treatment: 8/21/17 — 10/26/17

Is medical treatment continuing? x_Yes No
Has there been an inpatient hospitalization? Yes x_ No
Has there been any surgery? No.

Approximate medical bills to date? $11,662.41

Approximate medical bills recoverable in this case. TBD

Are there any existing liens (Workers Compensation, DPW, Medical, etc.)?

_ __ Yes __._ No
If yes, what type and approximate amount? TBD
Time lost from work: Yes.
Approximate past wage loss; $3,573.14
Is there a claim for future lost earning capacity? _X Yes _._ No
If yes, approximate future lost earning capacity: TBD
Are there any related cases or claims pending? Yes ~=_x_ No
If so, list captions(s) or other appropriate identifier:
Do you anticipate joining additional parties? __ Yes x No

 

Plaintiff's factual position as to lability:
On or about August 21, 2017 Plaintiff, was operating her motor vehicle at or near
the 200 block of Franklin Street, Strasburg PA., when Defendant Driver driving a vehicle

owned by Defendant Owner, struck plaintiff's vehicle causing plaintiff to suffer
permanent and severe injuries.

Defense position as to causation of injuries alleged: Defendant is left to their
proof.
Identify all applicable insurance coverage:

Defendant Insurance Carrier Coverage Limits
Case 5:19-cv-01956-EGS Document1 Filed 05/02/19 Page 26 of 26

Are there issues as the applicability of the
above insurance coverage: Yes _X _No

18, Demand: $110,000 Offer: 0

J. FINE LAW GROUP, PC

BY: /s/
DAVID M. BERCOVITCH, ESQUIRE
